      Case 4:15-cv-00623-DPM Document 168 Filed 07/07/17 Page 1 of 6




              IN THE UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF ARKANSAS
                       WESTERN DIVISION

LAKESHA DOE, Parent, et al.                                     PLAINTIFFS

v.                          No. 4:15-cv-623-DPM

JOHNNY KEY, In His Official Capacity
as Commissioner of Education and the
LRSD School Board, and MICHAEL
POORE, In His Official Capacity as
Superintendent of the Little Rock
School District                                               DEFENDANTS



                                   ORDER

     1. The Poore and Key motions for summary judgment are partly

granted and mostly denied. The denial, though, is without prejudice.

      2. There are some threshold issues. First, some of the students have

graduated or left the district. Poore and Key argue that these students and

their parents now lack standing, or that their claims are moot. Plaintiffs have

not opposed this point.     The Court therefore dismisses these particular

students and their parents without prejudice.* Second, the three-year statute

of limitations. It bars all parents' claims accruing before December 2012. But



    *They are: Evelyn Fisher, Eshawn Fisher, Alvronia Robinson, Lyric
Louden, Lakesha Robinson Smith, and Dezury Ashford.
       Case 4:15-cv-00623-DPM Document 168 Filed 07/07/17 Page 2 of 6




the children's claims are preserved by Ark. Code Ann.§ 16-56-116(a), and, as

Plaintiffs argue, at least some claims might be sheltered as potential

continuing violations. So, the limitations point doesn't make much real

difference. On res judicata, the plaintiffs are right that this Court's declaration

that LRSD was unitary in several material ways in 2002 doesn't bar claims

about decisions made and policies pursued since. LRSD' s unitary status is an

important fact, but it doesn't stop this lawsuit. Last, no argument is made

thatthe 2014 global settlement in case No. 4:82-cv-866 bars the current claims.

      3. Poore and Key are entitled to summary judgment on the discipline

issues. Taking the record in the light most favorable to the students and

parents, there's insufficient evidence to support a judgment that LRSD has a

racially motivated policy, custom, or practice of disciplining black students

more harshly or differently than white students. The record shows isolated

instances involving a few teachers and perhaps principals, generalized

feelings of disparate treatment, and some bottom-line numbers from across

the district. NQ 146 at 35-36. All this is insufficient as a matter of law. Village

of Arlington Heights v. Metropolitan Housing Development Corporation, 429 U.S.

252, 265 (1977). Because many things influence student behavior, years ago


                                        -2-
       Case 4:15-cv-00623-DPM Document 168 Filed 07/07/17 Page 3 of 6




Brother Wilson rejected similar statistics when the Court declared LRSD

unitary in discipline. NQ 3675at164-66 in No. 4:82-cv-866. I agree. And the

rest of the plaintiffs' proof on this issue is just too thin.

      4. LRSD' s motion is also granted on teacher-assignment issues. Key

suggests that where the teachers work is mostly a function of the collective

bargaining agreement. Maybe, but the Court doesn't rule on this basis.

Instead, Plaintiffs simply haven't offered sufficient evidence to support a

judgment that LRSD assigns teachers based on a racially discriminatory

custom, policy, or practice. The raw data about the teacher numbers doesn't

suffice. Ng 146 at 21-24. Neither do the remarks heard by Dr. DeJarnette,

which (as Poore and Key point out) were made more than ten years and six

superintendents ago. No LRSD teacher or other person recently involved has

testified that assignments are influenced by the race of students or teachers.

Arlington Heights, 429 U.S. at 265.

      5. The core of Plaintiffs' remaining claim is about facilities and other

resources, such as school programs. Has LRSD intentionally discriminated

based on race through district policy, custom, or practice in providing them?




                                        -3-
       Case 4:15-cv-00623-DPM Document 168 Filed 07/07/17 Page 4 of 6




Ng 166 at   if 9; Plaintiffs' Trial Brief at 3-11,** Ng 163 at 3-4. And there's an
embedded issue about the attendance zone for Central High School. Though

Poore and Key make strong arguments about traceability and on the merits,

the Court concludes that it can make a better judgment on the

facilities/resources claim after seeing and hearing the witnesses, plus

considering all the documents with the context that only live testimony, as

well as oral argument, will provide.

      6. Plaintiffs' motion for more trial days is granted in part and mostly

denied. The Court now has the benefit of all the parties' pretrial filings to

help in evaluating how much time is needed to fairly present the case. We

don't need the fifteen requested days. Two days of proof are in. If we all

proceed efficiently-with a steady focus on the key facts about facilities and

programs, especially in recent years - this case can be well tried in about six

more days. The Court is confident that the experienced and able lawyers on

the docket can accomplish this. The Court allocates plaintiffs twenty-five

hours for direct and cross examination of all witnesses. Defendants are


      **Notwithstanding standard practice, Local Rule 5.5(f), the Court
directs plaintiffs to file their trial brief and the Clerk to accept it, so that the
record is complete.

                                        -4-
       Case 4:15-cv-00623-DPM Document 168 Filed 07/07/17 Page 5 of 6




entitled to the same, though they appear, based on their witness lists, to

require much less.

     Here's the trial architecture.     The parties' good pretrial briefing

eliminates the need for extended openings. Instead, the Court requests a daily

ten-minute mini-opening from each side: Sketch the ground you will cover

with each witness that day. Inform opposing counsel by noon each day who

will be called on the following day. Each side will have one hour for a

comprehensive closing argument. We'll start at 9:30 a.m. on Tuesday, July

18th, and 8:30 a.m. thereafter, unless the Court orders otherwise. On this

schedule, Plaintiffs should be able to complete their case by the close of

business on Friday, July 21st. We'll probably spill over into the following

week for Defendants' case and closings, and as needed for unforeseeable

circumstances.

      To keep things moving at trial, the Court directs counsel (or their

representatives) to meetin person, review all proposed exhibits, and agree on

as many as possible, on a mutually convenient date before July 18th. Please

address Key's objections, NQ 167, at this meeting. Be prepared to inform the




                                      -5-
       Case 4:15-cv-00623-DPM Document 168 Filed 07/07/17 Page 6 of 6




Court about agreed exhibits when we start on July 18th. We'll handle any

disputed documents as the issue arises.

                                  *   *     *
     Motions for summary judgment, NQ 126 & 129, partly granted and

mostly denied without prejudice. Motion to extend the length of trial, NQ 158,

partly granted and mostly denied.

     So Ordered.


                                            D.P. Marshall Jr.
                                            United States District Judge

                                                7 ~ ;to17




                                      -6-
